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       MINUTES OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH


JUDGE: Hon. Bruce S. Jenkins                               COURT REPORTER: Ed Young
                                                           COURTROOM DEPUTY: Kim Forsgren
                                                           INTERPRETER: Not Needed                          /



 CASE NO. 2:16cvl066

 Derive Power et al v. EZ Lynk SEZC et al
                                                                                         Approved By: _ _ __


                                          APPEARANCE OF COUNSEL
 Pla        Vincent Galluzzo, Brent Hatch
 Dft        Sam Straight, Arthur Berger-Power Performance Enterprises
 Dft        Jared Braithwaite -Thomas Wood & Techit
 Dft        Carmeron M. Hancock, James Burton - EZ Lynk SEZC
 Dft        George R. Schultz, Jordan Cameron - GDP Tuning


 DATE: 03/11/2019 Time Start: 3:45 p.m. to Tirµe End: 4:15 p.m.

 MATTER SET: EZ Lynk SECZ's Expedited Short Form Discovery MOTION [839] for Protective Order Re: Steven
 Loudon's Draft Hearing Materials ·

DOCKET ENTRY:


Counsel are present for parties.· Argument heard by Mr. Burton regarding the Motion for Protective Order re: Steven
Loudon. After discussion, the Court granted the Motion [839] for Protective Order.

Mr. Burton is to prepare and submit an order.




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